            Case 2:16-cv-00108-ABJ Document 1 Filed 05/04/16 Page 1 of 10




                                                              ^^^''H^liEYEHHE
                                                                     jipAm.CLERy•'
Thomas N. Long, Attorney No. 5-1550
Long Reimer Winegar Beppler LLP
2120 Carey Avenue, Suite 300 (82001)
P.O. Box 87
Cheyenne, WY 82003-0087
(307) 635-0710
(307) 635-0413 fax
Email: tlong@lrw-law.com

                     IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF WYOMING



Carole Shotwell, Trustee of the Morgan Ann
Keller Trust and the Christopher Azad Keller
Trust, and Linda J. Steiner, Trustee of the Abigail
Elizabeth Lewis Fournier Trust and the Madeline
Jane Lewis Trust, successors in interest
to the DUKES FAMILY TRUST,

               Plaintiffs,

       V.                                             Civil Action No. ll5=totiG2-T
UNITED STATES OF AMERICA,

               Defendant.




                        COMPLAINT FOR REFUND OF TAXES




       Plaintiffs, Carole Shotwell, Trustee of the Morgan Ann Keller Trust and the

Christopher Azad Keller Trust, and Linda J. Steiner, Trustee of the Abigail Elizabeth

Lewis Fournier Trust and the Madeline Jane Lewis Trust, successors in interest to the
Case 2:16-cv-00108-ABJ Document 1 Filed 05/04/16 Page 2 of 10
Case 2:16-cv-00108-ABJ Document 1 Filed 05/04/16 Page 3 of 10
Case 2:16-cv-00108-ABJ Document 1 Filed 05/04/16 Page 4 of 10
Case 2:16-cv-00108-ABJ Document 1 Filed 05/04/16 Page 5 of 10
Case 2:16-cv-00108-ABJ Document 1 Filed 05/04/16 Page 6 of 10
Case 2:16-cv-00108-ABJ Document 1 Filed 05/04/16 Page 7 of 10
Case 2:16-cv-00108-ABJ Document 1 Filed 05/04/16 Page 8 of 10
Case 2:16-cv-00108-ABJ Document 1 Filed 05/04/16 Page 9 of 10
Case 2:16-cv-00108-ABJ Document 1 Filed 05/04/16 Page 10 of 10
